Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 1 of 15 PageID 372




                  UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                        TAMPA DIVISION

TIMOTHY BURKE

v.                                 CASE NO. 8:23-mc-00014-WFJ-SPF
                                            8:23-mj-1541-SPF

UNITED STATES OF AMERICA
_______________________________/

                   MR. BURKE’S RESPONSE TO
                 GOVERNMENT'S STATUS REPORT
              ON RETURN OF COPIES OF ITEMS SEIZED

      On November 24, 2023, the government filed with this Court a fourth

status report concerning the contents of documents and records, seized

pursuant to a search warrant on May 9, 2023, which have been returned to

Mr. Burke or to his wife, Tampa City Council Member Lynn Hurtak. (Dkt.

No. 49). Mr. Burke, through counsel, submits this response, clarifying some

of the issues related to the government's piecemeal return of data and

hardware. Our estimate is that, as of today, approximately 84.5 TB of storage

was seized, of which 4 TB has been returned in physical form, and 37 TB has

been returned in copied form, adding up to 49% of the seized storage having

been returned. The bulk of the materials returned are “old” materials - that



                                 Page 1 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 2 of 15 PageID 373




is, materials that are not within the temporal time period covered by the

affidavit in support of the warrant.

      1.    Materials “Covered by” The Warrant

      The warrant in this case ordered law enforcement agents to seize and

examine evidence of violations of Title 18 USC 1030 and Title 18 2511 created

after August 22, 2022, and a supplemental warrant extended the applicable

date for which the government was authorized to seize/examine records of

these two offenses to February 20, 2022. As a result, while the government

was authorized to seize certain computers or other ESI - it was only

permitted to do so to the extent that these devices actually contained

documents and records which were BOTH created after the date specified in

the warrant AND which related to violations of these two statutes. Thus, the

warrant affidavit, the finding of probable cause, and the specificity of the

warrant had both a temporal (time) and subject matter (crime) component.

Any file or record which does not meet both components is outside the scope

of the warrant, and may only be seized to the extent necessary to preserve

the integrity of some item within the scope of the warrant, and importantly

may only be examined (either by a human or an electronic program) to

determine whether it meets both components of the warrant.
                                  Page 2 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 3 of 15 PageID 374




      Every other file, document, records, email, tweet, social media posting,

photograph, stored media, etc., which does not meet both requirements is

“outside the scope of the warrant” and was either improperly seized, or if

seized properly, may not be examined by the government except a cursory

inspection to make sure that the file is outside the scope of the warrant both

temporarily and by subject matter. All of those records should be returned

to Mr. Burke --- and indeed should never have been taken from him.

      2.    Request for Inventory of Items Retained

      To date, the bulk of the information returned is outside the temporal

parameters of the warrant. For example, the government notes (Document

49, p. 1) that they have returned to Mr. Burke “copies of the folders/files” on

certain listed items “except those ‘Particular Things to be Seized….” Thus,

the government appears to be indicating that the ONLY documents it currently

retains are those listed in Attachment B to the warrant - evidence of

violations of 18 USC 1030 and 2511 which were created between February

20, 2022 (the date of the modified warrant) and May 9 , 2023 (the date of the

warrant execution). However, we have no inventory of which files or folders

on those drives the government has NOT returned, nor could we know

(without having access to either the original drive or a forensic copy) what
                                  Page 3 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 4 of 15 PageID 375




these files are, or how voluminous these files might be. This is significant

because Mr. Burke had on his terabytes of stored live streams obtained from

various sources from which he intended (and continues to intend) to

generate news reports -- including reports critical to the national interest. As

far as we are aware, these live streams themselves are not evidence of any

crime. However, the government has, in the past, indicated that they do not

intend to return any of these live streams under the theory not that they are

evidentiary per se, but that they might be some sort of “contraband.”

Therefore, in the interest of clarity, and to narrow any controversy

concerning the review of the records, Mr. Burke requests that the

government provide to the Court an inventory of the files or folders that it

has retained and not returned, together with a description of the

approximate size of such files. 1

        3.      Privilege Log/Filter Team Report

        The bulk of the items seized from Mr. Burke, including the content of

data collected for dissemination to the public, Mr. Burke’s communications


1
  F.R.Crim.P. 41(f)(1)(B) provides that, when electronic evidence is seized, “the inventory may be limited
to describing the physical storage media that were seized or copied.” However, because Mr. Burke
continues to contend that the materials seized were both protected under law and relate to both core
political speech and the right to publish -- both First Amendment protected activities -- a more specific
inventory will assist the Court in determining the adequacy of the government’s minimization efforts.
                                              Page 4 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 5 of 15 PageID 376




with both sources and other journalists, his confidential methods of data

collection, and even the nature of stories he was working on and his editorial

process for determining what to look for and where, as well as the identity

of his clients (those who retained his journalistic services) are, in our opinion,

not only protected under the Florida journalist shield law2, but are protected

2 (1) Definitions.--For purposes of this section, the term:

(a) “News” means information of public concern relating to local, statewide, national, or worldwide issues
or events.
(b) “Professional journalist” means a person regularly engaged in collecting, photographing, recording,
writing, editing, reporting, or publishing news, for gain or livelihood, who obtained the information sought
while working as a salaried employee of, or independent contractor for, a newspaper, news journal, news
agency, press association, wire service, radio or television station, network, or news magazine. Book
authors and others who are not professional journalists, as defined in this paragraph, are not included in
the provisions of this section.
(2) Privilege.-- A professional journalist has a qualified privilege not to be a witness concerning, and not
to disclose the information, including the identity of any source, that the professional journalist has
obtained while actively gathering news. This privilege applies only to information or eyewitness
observations obtained within the normal scope of employment and does not apply to physical evidence,
eyewitness observations, or visual or audio recording of crimes. A party seeking to overcome this
privilege must make a clear and specific showing that:
(a) The information is relevant and material to unresolved issues that have been raised in the proceeding
for which the information is sought;
(b) The information cannot be obtained from alternative sources; and
(c) A compelling interest exists for requiring disclosure of the information.
(3) Disclosure.-- A court shall order disclosure pursuant to subsection (2) only of that portion of the
information for which the showing under subsection (2) has been made and shall support such order with
clear and specific findings made after a hearing.
(4) Waiver.-- A professional journalist does not waive the privilege by publishing or broadcasting
information.
(5) Construction.-- This section must not be construed to limit any privilege or right provided to a
professional journalist under law.
(6) Authentication.-- Photographs, diagrams, video recordings, audio recordings, computer records, or
other business records maintained, disclosed, provided, or produced by a professional journalist, or by
the employer or principal of a professional journalist, may be authenticated for admission in evidence
upon a showing, by affidavit of the professional journalist, or other individual with personal knowledge,
that the photograph, diagram, video recording, audio recording, computer record, or other business
record is a true and accurate copy of the original, and that the copy truly and accurately reflects the
observations and facts contained therein.
7) Accuracy of evidence.-- If the affidavit of authenticity and accuracy, or other relevant factual
circumstance, causes the court to have clear and convincing doubts as to the authenticity or accuracy of
the proffered evidence, the court may decline to admit such evidence.
(8) Severability.--If any provision of this section or its application to any particular person or circumstance
is held invalid, that provision or its application is severable and does not affect the validity of other
provisions or applications of this section.
Credits
                                                Page 5 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 6 of 15 PageID 377




from disclosure under both the First Amendment to the U.S. Constitution

and Article I Section 4 of the Florida Constitution.

        The government represented to the Court that it was using a “filter

team” to review items prior to providing documents to the investigative

team. The status report provided contains no report from the filter team, nor

does     it    contain       a     summary        of    items      not     produced        due      to

privilege/constitutional protection or the protocols deployed for filtering.

See, e.g., In re Sealed Search Warrant & Application (Korf), 11 F. 4th 1235, 1249

(11th Cir., 2021) “If the government identified seized [privileged materials]

the warrant outlined a protocol that would be followed concerning the

handling of those materials” (emphasis supplied). Document 49 does not

appear to include either a copy of the filter team report or the protocol

provided by the Court or the affiant about how the filter team was to identify

and protect privileged and Constitutionally protected materials, as well as

the legislatively protected materials of Ms. Hurtak.




Added by Laws 1998, c. 98-48, § 1, eff. May 12, 1998. Amended by Laws 2023, c. 2023-8, § 20, eff. July
4, 2023.

Fla. Stat. Ann. § 90.5015 (West)

                                             Page 6 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 7 of 15 PageID 378




      4. Unexplained Alterations of Returned Files

      As noted in our addendum to the government’s summary, most if not

all of the files “returned” to Mr. Burke by the government are either

unusable or have been modified. Most significantly, most of these files have

“file creation” dates dated AFTER the date of the execution of the warrant -

in many cases months after the date of seizure. Obviously, Mr. Burke did

not “create” these documents after the government seized them.

      The most likely explanation is that the government, instead of creating

a forensic copy of the files it returned using approved forensic

hardware/software like OpenText(™) EnCase Forensics (which would have

preserved the original file creation date) somehow copied the files in bulk to

a medium, preserving instead the date the files were copied (not actually

created) instead of the original file format. It also seems likely that no bit-

by-bit comparison was made between the seized files and those returned,

and as a result, the returned files cannot, for example, be sorted by date, and

cannot be assumed to be accurate. There may be some other explanation for

the alteration of the data, but we cannot say that the files were “returned” in

forensic form.



                                  Page 7 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 8 of 15 PageID 379




      By way of example is the fact that many of the returned files contain

creation dates that neither reflect the date they were created nor reflect the

date they may or may not have been copied by the filter team. For example,

thousands, or maybe even hundreds of thousands of files all have a

modification date and time of 2:09:59 PM on April 15, 2020.




One such file (of thousands) is this image about the war in Ukraine from

February 21st, 2023, which nonetheless was set by someone to have been

modified to almost three years prior (and done so, apparently, on September

13th, 2023). As a result, while the files are accessible, simple features like



                                  Page 8 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 9 of 15 PageID 380




sorting by date, or finding files within a particular date range is impossible.

Clearly the method of copying was not done in a forensic manner.

      5. Unusable, Corrupted, or Modified Data

      As our comments to the government status report indicates, in many

cases, the devices returned were not working, or the data either corrupted

or unusable. Thus, files taken from an Apple device were formatted by or

for Windows (™) PC in a way that made them unrecoverable. Much of the

data seized was originally formatted for a “RAID” server -- a Redundant

Array of Independent Disks, which is a data storage technology that

combines multiple hard drives into one or more logical units. In order for a

RAID server to be forensically reconstructed, all components of the RAID

server must be available, since the RAID server treats them all as a single

logical drive. While bits and pieces of the RAID server and data have been

returned, because of the original configuration of the server, the data

returned is mostly unusable. In other cases, Operating System files have

been deleted or removed, or are otherwise corrupted - meaning that data on

these drives is not accessible. While the file may have been “returned” it was

not “returned” in a usable manner.



                                  Page 9 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 10 of 15 PageID 381




         Similarly, files with the .SQL extension contain code written in a

 certain language; the Structured Query Language (SQL). 3 As with the RAID

 structure, the SQL database must be copied in a specific manner in order for

 the data to be usable. The .sql files returned were unusable and may have

 been corrupted.

         In the case of the Internet router seized (which contained no data

 relevant to the offenses), the returned device was corrupted and unusable --

 the boot drive (what causes the router to “boot up”) was missing, and the

 system files either modified or corrupted in a way that makes the router

 unusable.        Similarly, the boot drive for the DirecTV video server was

 returned in a way that was heavily modified (with apparent installs of

 “snaps” - small Linux pieces of software), with install dates ranging from

 May through July 2023.

         The same is true with respect to the “Time Machine” files. “Time

 Machine” is a proprietary Apple protocol for making forensic backup files



 3
   Most of the websites on Mr. Burke’s server ran WordPress, an extremely common CMS (content
 management system) that stores the website content in a MySQL database, which gets called by the PHP
 script. By way of example, the Burke Communications homepage, index.php runs a script that, when
 loaded in a web browser, makes a request to the server's SQL server to retrieve the content of that site,
 including the homepage and everything that is linked to from that homepage. The complete structure of
 the site itself exists as data in the database, not in the web folder. Therefore, to migrate or recreate Mr.
 Burke’s live website, it is imperative that the government return the full SQL database related to that site.
                                                Page 10 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 11 of 15 PageID 382




 on a Macintosh computer.                First introduced by Apple in 2007, the Time

 Machine software is designed to work with both local storage devices and

 network-attached disks, and is most commonly used with external disk

 drives, and makes “incremental” copies of data on the computer’s hard

 drive. However, it appears that the government formatted the Apple Time

 Machine file copies with a Windows based utility, and the data is no longer

 accessible.

        6.      General Comment on Forensics

        The standard and approved method of forensically copying data is to

 make a “bitmap image” of the device or drive to be imaged in such a way

 that the “copy” is a “duplicate original” of the original AND in a way that

 prevents the software from making any alterations to the original - seized --

 drive, such as a physical or logical “write blocker.”4 In effect, the new drive

 is a duplicate of the old one --- with the exception that, if the new drive is

 larger than the old one (say a 512 Mb drive copied to a 1 Tb disk) the software

 should create a 512 Mb “partition” on the 1 Tb disk - essentially a “folder”




 4
   Searching and Seizing Computers and Obtaining Electronic Evidence in Criminal Investigations
 Computer Crime and Intellectual Property Section Criminal Division, p. 202; FBI Digital Evidence Policy
 Implementation Guide, January 3, 2014, Section 3.3.1, p. 19


                                             Page 11 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 12 of 15 PageID 383




 containing the forensic files. Because of the need to ensure that the copies

 are identical, it takes from 3.5-4.5 hours to fully copy and validate a 1 Tb

 drive. Thus, if working sequentially, it should have taken a total of 45 hours

 to forensically copy the 10 Tb of data seized from Mr. Burke. It has been 195

 days since the government seized Mr. Burke’s newsroom. Undoubtedly, the

 need to have the filter team examine all of the files before providing them to

 the investigators (applying the court approved protocols for privilege)

 would slow down the investigation, but this should not have slowed the

 process of copying. The government could have (and we suggest should

 have) simply made a forensic copy of all of Mr. Burke’s seized data, and

 returned it in situ.    Unlike cases involving the seizure of classified

 information, or Child Sexual Abuse Materials (CSAM), or obscene materials

 which are literal “contraband” and may not be legally returned, there is no

 credible allegation that it would be unlawful for the government to return to

 Mr. Burke his own reporting materials. The government has made no claim

 that the journalists’ materials are subject to civil or criminal forfeiture, and

 despite the government’s assertion of their evidentiary nature, no precedent

 exists that we know of that possession of unclassified information by a

 journalist is an offense. As a result, the government could have simply
                                   Page 12 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 13 of 15 PageID 384




 copied and returned all of the drives and data, or - if they wished, could have

 deleted, masked, or encrypted specific files which they could demonstrate

 could not lawfully be returned. This would have been both forensically

 defensible and significantly faster than the piecemeal approach to data

 return.

       7. General Comment on Data Return

       A final comment on the return of data.        It is not clear from the

 government’s status report whether the government has kept, or intends to

 keep copies of the materials returned to Mr. Burke, or whether the materials

 “returned” to Mr. Burke are the original files and the government has not

 kept a copy.     While some of the data files indicated that they were

 “RETURNED and information deleted from government systems, 10-6-

 2023,” it is not clear whether this means that the government has retained

 the original drive (with the data) but simply removed a copy of the data from

 government systems, or whether the government truly has no copy - either

 with the filter team or the investigative team, although we believe this to

 mean that what was returned was the ORIGINAL document/drive, and

 therefore this means that the government does NOT have the returned data.

 Mr. Burke’s position remains that the government is not entitled to retain
                                   Page 13 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 14 of 15 PageID 385




 copies of ANY materials which are not both temporally and subject matter

 wise within the scope of the warrant and its probable cause findings. The

 filing suggests that the only records the government currently retains are

 those which are evidence of the two specified crimes within the specified

 time period (as defined in Attachment B to the warrant), but Mr. Burke

 respectfully requests that this be clarified.

       WHEREFORE, Mr. Burke renews his request for a hearing pursuant

 to Rule 41(g) to determine precisely what materials the Government has

 retained, in what condition the materials are being maintained and/or

 copied, and when or if, they will ever be returned to Mr. Burke. Without this

 specificity, it will be impossible for the Court to adequately monitor the

 government's progress and its position regarding retained materials to make

 a judicial determination of when and how to intervene in the Government's

 process.

 Respectfully submitted,
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                                    Page 14 of 15
Case 8:23-mc-00014-WFJ-SPF Document 50 Filed 11/28/23 Page 15 of 15 PageID 386




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                        CERTIFICATE OF SERVICE

       I hereby certify that on November 28, 2023, a true and correct copy of

 the foregoing document is being electronically filed and will be furnished

 via CM/ECF to: Jay Trezevant, Esq. U.S. Attorney’s Office Middle District of

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                                 Page 15 of 15
